Case 1:12-cr-00057-CG-C Document 120 Filed 05/22/12 Page 1 of 13                      PageID #: 949




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA                          )
                                                   )
 v.                                                )   CRIMINAL NO. 12-0057-WS-C
                                                   )
 VITO LA FORGIA,                                   )
                                                   )
        Defendant.                                 )


                                              ORDER
        This matter comes before the Court on defendant’s Motion to Dismiss, or in the
 Alternative to Suppress Statements (doc. 83). The Motion has been briefed and is taken under
 submission without a hearing.1
 I.     Background.
        Defendant Vito La Forgia has been indicted in this District Court on charges of
 conspiring to falsify the Oil Record Book for the M/V BOTTIGLIERI CHALLENGER (the
 “Vessel”), in violation of 18 U.S.C. § 371; obstructing justice through the concealment and

        1
                  La Forgia has requested an evidentiary hearing to explore “[t]he full extent of the
 misrepresentations made by the Coast Guard about the nature of its investigation.” (Doc. 83, at
 2.) However, no hearing is necessary, given the absence of any material disputed facts requiring
 credibility determinations. See United States v. Raddatz, 447 U.S. 667, 693, 100 S.Ct. 2406, 65
 L.Ed.2d 424 (1980) (Stewart, J., dissenting) (“[D]istrict judges need not always hold evidentiary
 hearings in order properly to dispose of suppression motions. Although many motions to
 suppress turn on issues of credibility, many do not.”); United States v. Horne, 2006 WL
 2668919, *5 (11th Cir. Sept. 18, 2006) (no evidentiary hearing necessary on motion to suppress
 that presented questions of law as to existence of probable cause for search warrant); United
 States v. Azzam, 2012 WL 177534, *1 n.1 (S.D. Ala. Jan. 23, 2012) (deeming evidentiary hearing
 inappropriate where motion to suppress turned on questions of law). More specifically, the
 parties’ written submissions reflect that the facts underlying La Forgia’s Motion are largely
 uncontroverted and that the parties’ dispute is with the legal implications of those facts. Also,
 for the reasons set forth below, the facts offered by La Forgia in support of his Motion, even if
 proved, would not establish a right to relief; therefore, no hearing is needed. See United States v.
 Cooper, 203 F.3d 1279, 1285 (11th Cir. 2000) (“Where a defendant in a motion to suppress fails
 to allege facts that if proved would require the grant of relief, the law does not require that the
 district court hold a hearing independent of the trial to receive evidence on any issue necessary to
 the determination of the motion.”).
Case 1:12-cr-00057-CG-C Document 120 Filed 05/22/12 Page 2 of 13                     PageID #: 950




 falsification of entries in said Oil Record Book, in violation of 18 U.S.C. § 1519; obstructing
 justice by ordering a crew member to remove a flange with a connected valve that had been used
 as part of a bypass system to discharge bilge waste overboard, also in violation of § 1519; and
 knowingly failing to maintain an accurate Oil Record Book, in violation of 33 U.S.C. § 1908(a).
 These charges arise from La Forgia’s service as Chief Engineer aboard the Vessel at the time of
 its port call in Mobile, Alabama beginning on or about January 24, 2012. La Forgia now seeks
 to suppress certain unidentified statements he made to Coast Guard agents during their initial
 inspection of the Vessel.2
        The relevant facts undergirding the Motion to Suppress do not appear to be in dispute.
 On January 25, 2012, the U.S. Coast Guard received an unsolicited written report signed by four
 Vessel crew members “stating that the Chief Engineering was pumping out oil from the bilge
 water tank overboard through the bilge and general service pump with dates of the incidents and
 how much that was pumped out.” (Doc. 112, Exh. A, at 1.) Coast Guard agents discussed “how
 the expanded Marpol exam would take place” and designated LTJG Mike Clausen as “the team
 lead for this expanded Marpol exam.” (Id. at 2.) At approximately 5:00 p.m. that day, the Coast
 Guard team boarded the Vessel and commenced the inspection. Early on, LTJG Clausen and LT
 Tonya Lim met with La Forgia, going with him to “his office/cabin and start[ing] to go over
 diagrams and other documents that would be useful to assist in the engine room.” (Id.)3
 Afterwards, LTJG Clausen and LT Lim “went with the Chief Engineer [La Forgia] down into the
 Engine Control Room and kept him occupied going over documents, alarm records and other
 diagrams, sounding tables etc.” (Id.) The record does not show how long this process lasted. In
 the ensuing hours, however, Coast Guard agents did the following: (i) discovered the “magic

        2
               La Forgia has framed his motion as a “Motion to Dismiss, or in the Alternative to
 Suppress Statements.” As such, both the dismissal and suppression remedies will be examined.
        3
                 LTJG Clausen explains that, at this time, he and LT Lim reviewed La Forgia’s
 records and vessel diagrams, made copies of piping diagrams and manual inserts, and
 downloaded various diagrams and manuals from La Forgia’s office computer. (Doc. 112, Exh.
 C, at 2.) In the Government’s view, this occasion marked the one time that La Forgia answered
 Coast Guard questions and gave any kind of statement to them. See doc. 105, at 9 (“At the time
 of the statements the defendant was in his own stateroom onboard the vessel, where he reviewed
 documents and records with the Coast Guard.”). Defendant has not identified what (if any)
 potentially incriminating statements he made at that time.


                                                 -2-
Case 1:12-cr-00057-CG-C Document 120 Filed 05/22/12 Page 3 of 13                      PageID #: 951




 pipe” allegedly used to bypass the Vessel’s pollution prevention equipment and discharge
 machinery space waste directly overboard; (ii) notified La Forgia and the Vessel’s captain of that
 finding; (iii) instructed La Forgia to run the incinerator and observed the operation of same; (iv)
 assembled and photographed the bypass arrangement; and (v) interviewed witnesses, collecting
 testimony that La Forgia would order engineering crew members to connect the bypass at sea.
 (Id. at 3-4.)
         Interestingly, the Coast Guard’s records reflect that no formal statement was obtained
 from La Forgia during the January 25 vessel inspection. Some time after midnight, LTJG
 Clausen led La Forgia and the second engineer “to the galley area and told them the investigation
 team would want their statement.” (Doc. 112, Exh. C., at 3.) La Forgia protested that he had
 been awake since 6:00 a.m., more than 18 hours earlier. (Id.) The second engineer’s interview
 was quite lengthy because “he had a lot to say regarding the bypass piping found in the engine
 room.” (Id. at 4.) When the second engineer’s interview finally concluded, La Forgia “was the
 last to be interviewed,” but he “declined to make a statement” when the Coast Guard investigator
 and Coast Guard Investigative Service attempted to interview him. (Id. at 4.)4 That appears to
 have been that.
         For his part, La Forgia avers that the Coast Guard agents repeatedly told him during the
 inspection that “it was conducting a Port State Control examination and an expanded MARPOL

         4
                 Defendant’s briefs gloss over this significant detail. La Forgia’s Declaration does
 not dispute the Coast Guard’s position that he never submitted to a formal interview during the
 late night hours of January 25 or the early morning hours of January 26. (The unvarnished
 statement by La Forgia’s lawyer in a brief that La Forgia was interviewed “at length … during
 the late evening hours” (doc. 83, at 3 & 9) is not supported by any record evidence, is
 contradicted by LTJG Clausen’s statement, and will not be credited.) Because La Forgia
 declined to give a statement that night, it is unclear exactly what he seeks to suppress.
 Presumably, he is attempting to cast a broad net to suppress any comment or remark he may have
 made to the Coast Guard at any time during the approximately nine hours that the agents were
 onboard the Vessel on January 25 and 26, including when agents asked him to produce diagrams
 and manuals, directed him to operate the incinerator, and so on. La Forgia’s Declaration’s lone
 insight on this point is the vague remark that he “was repeatedly questioned by the Coast Guard
 and ordered to different locations on the vessel, including the vessel’s engine room.” (Doc. 83-1,
 at ¶ 10.) This lack of specificity works against defendant in his blanket argument that the totality
 of circumstances demonstrates that his informal statements to the Coast Guard were not made
 voluntarily because it omits any showing of what the circumstances were at the moment of any
 particular statement to which he now objects.


                                                 -3-
Case 1:12-cr-00057-CG-C Document 120 Filed 05/22/12 Page 4 of 13                       PageID #: 952




 examination.” (La Forgia Decl. (doc. 83-1), ¶ 7.) La Forgia further states that the Coast Guard
 never informed him that it was conducting a criminal investigation, and never read him his
 Miranda rights that day. (Id., ¶ 8.)5 The only other material details set forth in La Forgia’s
 Declaration are that he “believed [he] was not free to leave the vessel” while the Coast Guard
 investigation was underway, that he was questioned in English without the aid of an Italian
 interpreter, and that Coast Guard officials never told him that he had the right to contact the
 Italian consulate. (Id., ¶¶ 6, 12-13.)6 None of these statements are controverted by the
 Government; therefore, all will be accepted as true for purposes of the Motion to Suppress.
 II.    Analysis.
        A fair reading of the Motion is that it centers on La Forgia’s contention that the Coast
 Guard intentionally misrepresented the purpose of the investigation as being administrative,
 rather than criminal. The narrow legal question presented is whether the Coast Guard’s lack of
 candor to La Forgia during the inspection of the Vessel (i.e., their failure to be forthright and
 notify him from the outset that he was the target of a criminal investigation) requires suppression
 of any statements he might have made to Coast Guard agents that day.7


        5
                It is unknown, of course, whether Coast Guard agents would have Mirandized this
 defendant had he in fact expressed willingness to give a statement when they attempted to
 interview him late that night.
        6
                 La Forgia’s present statement that “[i]t was my belief that I was not permitted to
 refuse to answer the Coast Guard’s questions” (doc. 83-1, ¶ 11) is undermined by uncontroverted
 evidence that he declined to give a statement when the Coast Guard attempted to interview him
 in the late evening hours of January 25, 2012. But this discrepancy does not materially affect the
 analysis, so the Court need not make a finding as to La Forgia’s subjective beliefs.
        7
                 As noted, La Forgia frames his desired remedy for this purported deception as
 dismissal of the Indictment, with suppression of the evidence being sought only in the
 alternative. The request for dismissal appears with no citations of authority or legal argument,
 but is instead confined to the threadbare allegation that “the proper remedy for this violation of
 Mr. La Forgia’s due process rights is dismissal of the indictment.” (Doc. 83, at 11.) The Court
 is aware of no authority favoring or mandating dismissal of an indictment, rather than
 suppression of the statements at issue, when law enforcement agents obtain a statement through
 unconstitutional means. Certainly, the judicially created exclusionary rule that has been in place
 for nearly a century is contrary to La Forgia’s demand for dismissal. See generally Davis v.
 United States, --- U.S. ----, 131 S.Ct. 2419, 2426, 180 L.Ed.2d 285 (2011) (explaining that the
 Fourth Amendment “says nothing about suppressing evidence,” and that the exclusionary rule “is
 a prudential doctrine … created by this Court to compel respect for the constitutional guaranty”).
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                                                  -4-
Case 1:12-cr-00057-CG-C Document 120 Filed 05/22/12 Page 5 of 13                       PageID #: 953




        A.      Failure to Announce Criminal Nature of Investigation Does Not Require
                Suppression of La Forgia’s Statements.
        It is a bedrock legal principle that “a confession, in order to be admissible, must be free
 and voluntary.” United States v. Lall, 607 F.3d 1277, 1285 (11th Cir. 2010) (citation omitted).
 That does not imply, however, that the use of deception by law enforcement to extract a
 statement from a suspect necessarily renders that statement involuntary and inadmissible. In
 fact, the Eleventh Circuit has flatly rejected a per se rule that all statements obtained through
 deception must be suppressed. See United States v. Farley, 607 F.3d 1294, 1328 (11th Cir. 2010)
 (“Our circuit law rejects a per se rule that statements obtained by police deception must be
 suppressed.”); Lall, 607 F.3d at 1285 (deceptions that involve misrepresentations of fact “are not
 enough to render a suspect’s ensuing confession involuntary”) (citations omitted).
        There being no absolute prohibition on police deception in obtaining statements, it
 becomes important to examine context. Here, the context was that the Coast Guard inspected the
 Vessel, pursuant to its broad statutory and regulatory authority to conduct administrative
 investigations (such as Port State Control inspections and MARPOL examinations) and criminal
 investigations. See, e.g., 14 U.S.C. § 89(a) (“The Coast Guard may make inquiries,
 examinations, inspections, searches, seizures, and arrests … for the prevention, detection, and
 suppression of violations of the laws of the United States.”); 33 C.F.R. § 151.23 (stating that
 Coast Guard may inspect ships at any United States port or terminal for compliance with
 MARPOL 73/78, and particularly whether a ship has discharged oil or oily mixtures anywhere in
 violation of MARPOL 73/78, including inspection of Oil Record Book, oil content meter
 continuous records, and general examination of the ship).8 There is nothing inherently



 And Miranda also undermines La Forgia’s plea for dismissal. See Miranda v. Arizona, 384 U.S.
 436, 444, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966) (“Our holding … is this: the prosecution may
 not use statements … stemming from custodial interrogation of the defendant unless it
 demonstrates the use of procedural safeguards effective to secure the privilege against self-
 incrimination.”). These cases are illustrative of a fundamental, black-letter point, to-wit: The
 remedy for a statement obtained involuntarily from a defendant is suppression, not dismissal. La
 Forgia’s undeveloped, unsupported assertion that dismissal of the indictment is appropriate under
 these circumstances is unavailing.
        8
               Contrary to La Forgia’s theory, there is no clear line of demarcation separating the
 Coast Guard’s “administrative inspection” function from its “criminal investigation” function.
 (Continued)
                                                  -5-
Case 1:12-cr-00057-CG-C Document 120 Filed 05/22/12 Page 6 of 13                      PageID #: 954




 problematic about such dual investigations, or even dual prosecutions. See, e.g., F.D.I.C. v.
 Maxxam, Inc., 523 F.3d 566, 592 (5th Cir. 2008) (“The simultaneous prosecution of civil and
 criminal actions is generally unobjectionable because the federal government is entitled to
 vindicate the different interests promoted by different regulatory provisions even though it
 attempts to vindicate several interests simultaneously in different forums.”) (citation omitted).
        The Motion to Suppress hinges on the notion that the Coast Guard was obligated to
 inform La Forgia that it was conducting a criminal investigation as to which he was a target, so
 that he could consider that information in evaluating whether or not to speak with the agents.
 This is not a correct statement of law. “Other circuits have agreed that Fourth Amendment and
 possible due process limitations may be implicated in a dual investigation. … Almost every other
 circuit has denied suppression, even when government agents did not disclose the possibility or
 existence of a criminal investigation, so long as they made no affirmative misrepresentations.”
 United States v. Stringer, 535 F.3d 929, 940 (9th Cir. 2008) (emphasis added and citations
 omitted). Indeed, a recurring theme in the case law is that the touchstone of the suppression
 inquiry in the deception context is whether law enforcements made an affirmative
 misrepresentation. See, e.g., United States v. Wuagneux, 683 F.2d 1343, 1347 (11th Cir. 1982)
 (explaining that a consent search is unreasonable if “consent was induced by the deceit, trickery
 or misrepresentation” of the Government, but that defendant “must show affirmative acts by the
 agent that materially misrepresent the nature of the inquiry, and the showing must be by clear
 and convincing evidence”) (citations omitted).9 Statements are suppressed for reasons of deceit



 By defendant’s admission, a Port State Control inspection contemplates that the Coast Guard will
 verify “compliance with U.S. and International laws and regulations.” (Doc. 83, at 1 n.2.) And
 an expanded MARPOL examination, by La Forgia’s reckoning, involves tasks such as
 “examin[ation of] the vessel pollution control equipment (i.e., the oily water separator, oil
 content meter, and incinerator)” (id. at 2 n.3), which the Coast Guard unquestionably did in this
 case. So this is not a case where the Coast Guard was wearing its “criminal investigation” hat
 exclusively, but is rather a case where the Coast Guard was performing a dual function of the
 expanded MARPOL examination coupled with investigation of particular allegations of criminal
 wrongdoing by La Forgia.
        9
                See also Agee v. White, 809 F.2d 1487, 1494-95 (11th Cir. 1987) (“we reject
 appellant’s contention that the police were obligated expressly to inform him prior to the …
 interrogation session that the police then suspected him of participating in the crime. Miranda
 does not require that the police constantly supply detainees with all information that might be
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                                                 -6-
Case 1:12-cr-00057-CG-C Document 120 Filed 05/22/12 Page 7 of 13                     PageID #: 955




 or trickery only in the presence of an affirmative misrepresentation, such as an outright and
 material lie.
         The facts in this case exhibit silence, not affirmative misrepresentations. The Coast
 Guard officials boarding the Vessel said that they were conducting a Port State Control
 inspection and an expanded MARPOL examination. Those statements were not false. On the
 contrary, the record shows that the Coast Guard agents performed the very inspections and
 examinations that those kinds of administrative inquiries encompass.10 There is no allegation
 that Coast Guard agents reassured La Forgia that no criminal investigation was being performed,
 that he was not a target, or that he would not be criminally prosecuted. La Forgia does not
 maintain that he asked any questions calculated to discern whether the investigation was
 criminal, much less that the Coast Guard answered such questions in a manner that led him to
 believe it was not.11



 relevant in deciding whether to waive their constitutional rights. … [W]here, as here, the police
 did not take affirmative steps to mislead a detainee as to the possible consequences of making a
 confession, Miranda does not require that a confession be excluded as involuntary solely because
 of the detainee’s subjective misunderstandings of those consequences.”); Hadley v. Williams,
 368 F.3d 747, 749 (7th Cir. 2004) (“the law permits the police to pressure and cajole, conceal
 material facts, and actively mislead, … [but] it draws the line at outright fraud,” such that a
 defendant’s consent is involuntary where “procured by an outright and material lie”).
         10
                 To confirm this point, one need only compare the Coast Guard agents’ statements
 about what they actually did on the Vessel to La Forgia’s characterization of what a Port State
 Control inspection and an expanded MARPOL examination are. (Compare doc. 83, at 1-2 & n.2
 & 3 with doc. 112, at Exhs. A & C.) As the Government correctly observes, “The actions of
 Coast Guard personnel in boarding and inspecting the Bottiglieri Challenger in Mobile were
 entirely consistent with a routine Port State Control document and safety exam and MARPOL.”
 (Doc. 105, at 8.) Thus, the Coast Guard’s representations about the type of inspections being
 performed were true as far as they went. They simply did not disclose the additional criminal
 component.
         11
                This critical fact distinguishes this case from the Tweel and Schroder cases on
 which defendant relies. In United States v. Schroder, 2006 WL 3717896 (S.D. Ala. July 6,
 2006), the “defendant’s attorney specifically asked whether this was a criminal investigation,”
 and the Coast Guard agent responded by stating falsely that it was not. Id. at *3. In United
 States v. Tweel, 550 F.2d 297 (5th Cir. 1977), the defendant’s accountant asked the IRS agent
 whether a “special agent” was involved in the investigation. The IRS agent “obviously knew the
 accountant inquired whether a special agent was involved to determine whether he was
 conducting a criminal audit,” yet he answered negatively even though this was indeed a criminal
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                                                 -7-
Case 1:12-cr-00057-CG-C Document 120 Filed 05/22/12 Page 8 of 13                       PageID #: 956




        Mere silence by law enforcement agents as to the criminal aspect of their investigation
 has been routinely held not to constitute the sort of affirmative misrepresentation that might give
 rise to a viable motion to suppress. See, e.g., United States v. Prudden, 424 F.2d 1021, 1033 (5th
 Cir. 1970) (holding that “the mere failure of a revenue agent … to warn the taxpayer that the
 investigation may result in criminal charges, absent any acts by the agent which materially
 misrepresent the nature of the inquiry, do not constitute fraud, deceit and trickery”); United
 States v. Mitchell, 966 F.2d 92, 100 (2nd Cir. 1992) (defendants’ statements to EPA were not
 involuntary even though agents failed fully to explain purpose of interviews, where agents
 emphasized their advisory role concerning water quality testing rather than criminal nature of
 investigation, but defendants never made specific inquiry about nature of investigation and
 agents made no affirmative misrepresentations); United States v. Erekson, 70 F.3d 1153, 1158
 (10th Cir. 1995) (for defendant’s statements to be involuntary because of agents’ deceit, “[s]imple
 failure to inform defendant that he was the subject of the investigation, or that the investigation
 was criminal in nature, does not amount to affirmative deceit unless defendant inquired about the
 nature of the investigation and the agents’ failure to respond was intended to mislead”) (quoting
 United States v. Serlin, 707 F.2d 953, 956 (7th Cir. 1983)).12 Simply put, there is no evidence of
 the kinds of affirmative misrepresentations that might render La Forgia’s statements involuntary
 and require their suppression.



 audit. Id. at 299. Thus, in Tweel and Schroder, agents affirmatively deceived the defendant by
 answering questions they knew were calculated to ascertain whether a criminal investigation was
 proceeding in a manner that incorrectly led the defendant to believe there was no such
 investigation. On those facts, suppression was appropriate. This case presents no analogous
 circumstances, but instead mere silence by the Coast Guard.
        12
                 See also Colorado v. Spring, 479 U.S. 564, 576, 107 S.Ct. 851, 93 L.Ed.2d 954
 (1987) (“This Court has never held that mere silence by law enforcement officials as to the
 subject matter of an interrogation is trickery sufficient to invalidate a suspect’s waiver of
 Miranda rights, and we expressly decline so to hold today.”); United States v. Greve, 490 F.3d
 566, 571-572 (7th Cir. 2007) (rejecting defendant’s argument that IRS agent “affirmatively
 misled him by continuing to conduct a civil audit after she had firm indications of fraud,”
 without telling him of her intentions to refer the matter for criminal investigation, because “she
 was not required to do so”); United States v. McFarland, 424 F. Supp.2d 427, 437 (N.D.N.Y.
 2006) (“The failure to disclose the details of an investigation, or the fact that the suspect is a
 target of an investigation does not constitute affirmative deceit,” as compared to “deliberate lies
 in response to a suspect’s questions concerning the investigation or whether he is a target”).


                                                  -8-
Case 1:12-cr-00057-CG-C Document 120 Filed 05/22/12 Page 9 of 13                       PageID #: 957




        More broadly, many courts have recognized that a voluntariness analysis in
 circumstances of deception turns on whether the defendant was deceived about the nature of his
 rights or the consequences of abandoning them. See, e.g., Farley, 607 F.3d at 1329-30
 (defendant’s statement not involuntary even if agents tricked him into thinking investigation was
 about terrorism, rather than sex offenses for which he was truly being investigated, where
 defendant was not deceived about the nature of his rights and the consequences of abandoning
 them); United States v. Bell, 367 F.3d 452, 461 (5th Cir. 2004) (as to voluntariness of confession,
 “trickery or deceit is only prohibited to the extent that it deprives the defendant of knowledge
 essential to his ability to understand the nature of his rights and the consequences of abandoning
 them”). The kinds of deception that are generally deemed to trigger suppression are lies about a
 defendant’s legal rights (i.e., “you must answer our questions”), false promises (i.e., “whatever
 you say will be just between us”), or threats (i.e., “if you don’t talk, you won’t see your family
 for a very long time”). See, e.g., United States v. Degaule, 797 F. Supp.2d 1332, 1380 (N.D. Ga.
 2011) (“[T]rickery can sink to the level of coercion, but this is a relatively rare phenomenon. …
 Generally, courts have held statements involuntary because of police trickery only when other
 aggravating circumstances were also present,” such as coercive threats or deception as to the
 nature of his rights or the consequences of waiving them) (citations omitted).13 La Forgia has
 made no argument and presented no evidence that the Coast Guard lied to him about his legal
 rights or the consequences of abandoning him, much less that any false promises or threats were
 made to induce him to speak.14

        13
                 See also United States v. Boskic, 545 F.3d 69, 78-80 (1st Cir. 2008) (explaining
 that police trickery is not automatically coercion, and rejecting defendant’s argument that
 officers intentionally deceived him into believing he was not a target, where there was no
 evidence of “extrinsic factors” that distorted his judgment; “[a]lthough the fact that the agents
 allowed him to believe that he was not under investigation may have made him less guarded and
 self-protective, that deception alone did not make his statements involuntary”).
        14
                 In his briefs, defendant argues that La Forgia would not have answered any
 questions had he known that the Coast Guard was conducting a criminal investigation, and
 suggests that he was misled about the nature of his rights by the Coast Guard agents’ statements
 that they were conducting a Port State Control inspection and expanded MARPOL examination.
 (Doc. 83, at 3-4, 10; doc. 112, at 7.) Nothing in La Forgia’s Declaration would support these
 propositions. La Forgia himself never says that the Coast Guard’s representations about the
 scope of their investigation deceived him about the nature of his rights. Thus, counsel’s
 argument extrapolates well beyond defendant’s actual evidence submitted in support of the
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                                                  -9-
Case 1:12-cr-00057-CG-C Document 120 Filed 05/22/12 Page 10 of 13                       PageID #: 958




        Defendant’s remaining arguments on the “misrepresentation” issue may be dispatched
 quickly. For example, La Forgia would ascribe significance to what he calls the Coast Guard’s
 “conscious decision to intentionally mislead the vessel’s crew … in order to deceive Mr. La
 Forgia and coerce him into making potentially incriminating statements.” (Doc. 112, at 4.) This
 issue of intent is a red herring. The Eleventh Circuit has explained that agents’ subjective intent
 is irrelevant to this analysis. See Farley, 607 F.3d at 1330 (“It does not matter if the agents
 deliberately lied to [defendant] about the subject of the investigation in order to trick him into
 [giving an interview]. Their subjective motives for the deception are not relevant. … [T]he issue
 is whether [defendant]’s decision to waive his rights was knowing and voluntary under the
 totality of the circumstances.”). Similarly, La Forgia muddies the waters by arguing that “the
 government conceded that the Coast Guard affirmatively misled Mr. La Forgia as to the nature of
 its investigation as a subterfuge to obtain statements from Mr. La Forgia.” (Doc. 112, at 5.) The
 Government has conceded no such thing. (See doc. 105, at 9 (“The Coast Guard did not mislead
 this defendant.”).) Even if it had, under Farley the presence or absence of nefarious motive is of
 no consequence to the analysis.
        In sum, the Coast Guard often wears multiple hats (administrative, civil, criminal) during
 a vessel inspection. The law does not impose on the Coast Guard an affirmative obligation to
 delineate which of those “hats” it is or may be wearing before it questions a suspect. Nor does
 the law provide that a statement is inadmissible if the Coast Guard neglects to volunteer that
 information to the suspect. Had La Forgia specifically asked whether the investigation was
 criminal, and had the Coast Guard lied to him in response, the analysis might be very different,
 just as it was in the Schroder case he cites. But that is not our case.
        B.      Defendant’s Other Objections Do Not Warrant Suppression.
        As a sidelight to the misrepresentation issue propelling his Motion to Suppress, La Forgia
 repeatedly recites other facts that he contends warrant suppression of the statements he gave to
 the Coast Guard on January 25, 2012. He says that he was not given Miranda warnings and that



 Motion. In any event, it is not clear why La Forgia’s rights would be different in a Port State
 Control inspection (whose purpose is to verify compliance with U.S. and international law) than
 in a narrowly targeted criminal investigation, or why La Forgia would have any reasonable
 ground to believe that those rights were different.


                                                  -10-
Case 1:12-cr-00057-CG-C Document 120 Filed 05/22/12 Page 11 of 13                       PageID #: 959




 he was not offered an Italian-English translator. (Doc. 83, at 2, 9-10.) His counsel complains
 that “the Coast Guard kept the Chief Engineer on his feet” until he was “physically exhausted,”
 and only then “decided to formally interview the Chief Engineer,” at which time “he was up for
 nearly twenty four hours.” (Doc. 112, at 8-9.) These ancillary concerns – which are only
 minimally developed in defendant’s filings – need not long detain the Court.
        With respect to Miranda warnings, the record indeed establishes that they were not given.
 But that does not conclude the inquiry. “A suspect is only entitled to Miranda warnings when he
 is interrogated while in custody, because such circumstances are presumed to exert pressure on
 him to speak. … In determining whether a person was in custody, we look to whether he was
 physically deprived of his freedom in any significant way or if a reasonable person in the
 defendant’s position would have understood that his freedom was so restrained.” United States v
 Lall, 607 F.3d 1277, 1284 (11th Cir. 2010). The custody inquiry is critical. See Cook v. Warden,
 Ga. Diagnostic Prison, --- F.3d ----, 2012 WL 1371276, *5 (11th Cir. Apr. 20, 2012) (Miranda
 applies only to statements “stemming from custodial interrogation of the defendant,” meaning
 “questioning initiated by law enforcement officers after a person has been taken into custody”)
 (citations omitted). Why would a reasonable person in La Forgia’s position have understood that
 he was physically deprived of his freedom in a significant way? Defendant does not say.
 Instead, he simply relies on La Forgia’s statement in his Declaration that “I believed I was not
 free to leave the vessel.” (Doc. 83-1, at ¶ 6.) Of course, his subjective beliefs are irrelevant. See
 Lall, 607 F.3d at 1284 (“The test is objective: the actual, subjective beliefs of the defendant and
 the interviewing officer on whether the defendant was free to leave are irrelevant.”) (citation
 omitted). The evidence before the Court is that the Coast Guard spoke with La Forgia in his own
 stateroom (i.e., the quarters where he lived), in the engine room (i.e., the place where he
 worked), and at various other locations aboard the Vessel at various times during the protracted
 inspection. There is no indication the record that his freedom of movement throughout the ship
 was restrained or curtailed in any meaningful way. He was not handcuffed, physically detained,
 or held in a particular room during the investigation, nor was he threatened with or subjected to
 any force by the Coast Guard agents. By all appearances, La Forgia enjoyed free rein to move
 about the Vessel as he wished during the inspection.
        On this record, and in the absence of any serious attempt by defendant to argue
 otherwise, the Court has little difficulty concluding that La Forgia was not in custody when he

                                                 -11-
Case 1:12-cr-00057-CG-C Document 120 Filed 05/22/12 Page 12 of 13                       PageID #: 960




 spoke with Coast Guard agents. Miranda warnings were therefore unnecessary. See, e.g.,
 United States v. Rioseco, 845 F.2d 299, 303 (11th Cir. 1988) (vessel’s master held not to be in
 custody during Coast Guard boarding and questioning, where he was not told that he was in
 custody or under arrest, even though Coast Guard officers were armed and ship personnel were
 gathered in one specific area of vessel during the search); United States v. Li, 206 F.3d 78, 83 (1st
 Cir. 2000) (crew member not in custody for Miranda purposes where Coast Guard had boarded
 and begun inspection, had gathered crew members in one section of the ship, but had neither
 applied nor threatened any force); United States v. Baker, 641 F.2d 1311, 1319 (9th Cir. 1981)
 (noting that “[g]enerally, routine Coast Guard boarding of vessels does not create a custodial
 situation requiring Miranda warnings” and finding no “custodial atmosphere” where weapons
 were not displayed upon boarding and fisherman was allowed to go on his way); United States v.
 Fleet Management Ltd., 2008 WL 1989958, *11 (E.D. Penn. May 7, 2008) (“the Coast Guard’s
 confinement of crew to a ship during an investigation does not constitute custody for Miranda
 purposes, even when criminal conduct is suspected”).
        With regard to the interpreter, defendant tells this Court time and time again that the
 Coast Guard did not offer him the assistance of an interpreter. But La Forgia proffers no
 evidence whatsoever to suggest that the absence of an interpreter in any way impinged on his
 understanding of what was happening or obviated the voluntariness of his statements to the Coast
 Guard, much less that he ever requested an interpreter or told Coast Guard officials he could not
 understand English well enough to comprehend their questions. In the absence of any indication
 or explanation as to how (if at all) the lack of an interpreter affected his decision to speak with
 the Coast Guard or impaired his free will in some way, La Forgia’s mere repetition of the fact
 that no interpreter was offered is devoid of analytical significance for purposes of the Motion to
 Suppress. See generally United States v. Munoz, 748 F. Supp. 167, 170 (S.D.N.Y. 1990) (“There
 is no obligation to use a suspect’s native language, as long as he has sufficient command of the
 language in which he was warned to waive his rights intelligently or knowingly.”).
        Finally, defendant’s reply brief weaves a narrative that La Forgia was driven to physical
 exhaustion, deprived of rest, and forced to remain awake for nearly 24 hours before his statement
 was taken. (Doc. 112, at 8-9.) But La Forgia submits no evidence that he was not allowed to sit
 down or that he was forced to engage in physically exhaustive activities for a prolonged period
 of time during the inspection. Indeed, his Declaration is silent on the subject, and the Coast

                                                 -12-
Case 1:12-cr-00057-CG-C Document 120 Filed 05/22/12 Page 13 of 13                     PageID #: 961




 Guard officers’ statements submitted by defendant leave gaps of hours at a time where no
 mention is made whatsoever of any interaction with or requirements being placed upon La
 Forgia. More fundamentally, there is no evidence that La Forgia gave a statement to Coast
 Guard officials in the middle of the night, when he was exhausted. La Forgia does not say that
 he did. The Coast Guard officials’ statements (which defendant, not the Government, presents as
 exhibits to the Motion) unequivocally state that he declined to give a statement at that time, and
 reference only statements that he made early in the day, shortly after the inspection commenced.
 (This is another area where defendant’s vagueness about the statements which he seeks to
 suppress hurts his cause.) In short, the “physical exhaustion” issue is supported by nothing other
 than the say-so of defense counsel, and is refuted by defense evidence.
 III.   Conclusion.
        At the end of the day, “[w]e consider the totality of the circumstances, including the
 details of the interrogation and the defendant’s characteristics, when deciding whether a
 confession was voluntary.” United States v. Bernal-Benitez, 594 F.3d 1303, 1319 (11th Cir.
 2010). After careful consideration of all of the evidence and argument proffered by defendant in
 support of his Motion to Suppress, the Court finds no basis for concluding that any statements he
 gave to Coast Guard officials during their inspection of the M/V BOTTIGLIERI
 CHALLENGER on January 25, 2012 were not given voluntarily. Accordingly, the Motion to
 Dismiss or in the Alternative to Suppress (doc. 83) is denied.


        DONE and ORDERED this 21st day of May, 2012.

                                               s/ WILLIAM H. STEELE
                                               CHIEF UNITED STATES DISTRICT JUDGE




                                                -13-
